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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                       IN THE UNITED STATES DISTRICT COURT                         May 01, 2020
                       FOR THE SOUTHERN DISTRICT OF TEXAS                       David J. Bradley, Clerk
                                 HOUSTON DIVISION

LEA S. FRYE,                                  §
                                              §
                      Plaintiff,              §
                                              §
VS.                                           §   CIVIL ACTION NO. H-17-2289
                                              §
ANADARKO PETROLEUM CORP.,                     §
                                              §
                      Defendant.              §

                                          ORDER

         Anadarko has filed a motion in support of its revised document redactions. (Docket

Entry No. 100). Frye must respond by May 11, 2020. The status conference is reset for May

20, 2020, at 11:00 a.m., by telephone. Call-in information will be provided to counsel by

email.

               SIGNED on May 1, 2020, at Houston, Texas.


                                           _______________________________________
                                                        Lee H. Rosenthal
                                                 Chief United States District Judge
